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                            IN THE UNITED STATES DISTRICT COURT

                              FOR THE DISTRICT OF NEW MEXICO

JUANITA LOPEZ,

               Plaintiff,

       v.                                            Case No. ____________________

STATE FARM MUTUAL AUTOMOBILE
INSURANCE COMPANY and YET-TO-BE-
IDENTIFIED EMPLOYEES AND/OR AGENTS
of State Farm Mutual Automobile Insurance Company,

                       Defendants.

                                     NOTICE OF REMOVAL

       Defendant State Farm Mutual Automobile Insurance Company (hereinafter “State

Farm”), by and through its counsel of record, Miller Stratvert P.A. (Todd A. Schwarz and Jesika

M. Ulibarri), hereby gives notice of removal of this matter to the United States District Court for

the District of New Mexico as follows:

       1.      Pursuant to 28 U.S.C. §§ 1332, 1441 and 1446, Defendant State Farm hereby

gives notice of removal of all counts and claims asserted by the Plaintiff in the civil action filed

in the First Judicial District, County of Rio Arriba, State of New Mexico, styled: Juanita Lopez

v. State Farm Mutual Automobile Insurance Company and Yet-to-be-Identified Employees

and/or Agents of State Farm Mutual Automobile Insurance Company; First Judicial District

Cause No. D-117-CV-2017-00398 (the “State Court Action”). Pursuant to 28 U.S.C. § 1446(a),

copies of all process, pleadings, and orders served on State Farm to date are attached hereto as

Exhibit 1 (Summons and copy of Acceptance of Service from Office of Superintendent of

Insurance) and Exhibit 2 (copy of the below-defined Complaint).
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       2.      Plaintiff’s original filing, which is titled as “Complaint for Bad Faith Breach of

Contract, Insurance Bad Faith, Intentional Infliction of Emotional Distress, Violations of the

New Mexico Unfair Insurance Practices Act and the New Mexico Unfair Trade Practice Act,

Negligence and Breach of Fiduciary Duty, Breach of the Implied Covenant of Good Faith and

Fair Dealing, Treble Damages, Punitive Damages and Statutory Attorney’s Fees and for

Declaratory Relief and Reformation of Insurance Contract” (hereinafter the “Complaint”), was

filed in the First Judicial District Court on July 7, 2017. The Complaint and Summons were

served on Defendant State Farm through the State of New Mexico, Office of Superintendent of

Insurance on July 25, 2017. See Exhibit 1. Accordingly, this Notice of Removal is timely filed

pursuant to 28 U.S.C. § 1446(b) within thirty (30) days of service of the Complaint and

Summons.

       3.      Defendant State Farm states that this is an action of a civil nature in which the

United States District Court has diversity jurisdiction pursuant to 28 U.S.C. § 1332(a) because

there is complete diversity of citizenship between the sole Plaintiff and the sole named

Defendant, and the amount in controversy exceeds $75,000.00.

       4.      The Complaint asserts that Plaintiff is a resident of Rio Arriba County, New

Mexico. See Exhibit 2, Complaint ¶ 1.

       5.      State Farm is a resident of the State of Illinois, as it is incorporated in Illinois and

has its principal place of business in the State of Illinois. See Defendant’s Corporate Disclosure

Statement filed concurrently herewith.

       6.      The amount in controversy exceeds $75,000.00, exclusive of interest and costs.

       7.      The following is established on the face of the Complaint. This case involves an

actual controversy between Plaintiff, on the one hand, and Defendant, on the other hand,



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regarding an alleged motor vehicle collision and alleged resulting personal injuries. Plaintiff

alleges that she was covered by underinsured motorist (UIM) insurance policies issued by State

Farm and that suffered personal injuries due to a vehicle collision on or about May 1, 2014. See

Complaint ¶¶ 3-5.

       8.     Plaintiff alleges that she suffered “bodily injury, pain and suffering, permanent

physical and psychological impairment, emotional distress, loss of enjoyment of life and other

actual, consequential past and future damages”. See Complaint ¶¶ 3-4.

       9.     Plaintiff alleges that she settled with the tortfeasor’s insurance carrier for the

applicable policy limits and that she is now entitled to recover from State Farm alleged UIM

coverage with stacked limits of $125,000.00. See Complaint ¶¶ 3-5.

       10.    Plaintiff further alleges that she is entitled to treble damages, damages for

emotional distress, punitive damages, and her attorney’s fees, expenses and costs. See Complaint

¶ 9.

       11.    Without admitting any of the foregoing allegations, Defendant State Farm

respectfully submits that the aggregate “value” of what Plaintiff seeks to recover in this case,

including Plaintiff’s claim for punitive damages, exceeds $75,000.00. See Wiatt v. State Farm

Ins. Co., 560 F. Supp. 2d 1068, 1075 (D.N.M. 2007) (providing court may “aggregate actual

damages, punitive damages, attorneys’ fees, and statutorily imposed penalties” when

determining whether jurisdictional amount requirement is satisfied).

       12.    The United States Supreme Court has recently clarified that “as specified in §

1446(a), a defendant’s notice of removal need include only a plausible allegation that the amount

in controversy exceeds the jurisdictional threshold. Evidence establishing the amount is required




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by § 1446(c)(2)(B) only when the plaintiff contests, or the court questions, the defendant’s

allegation.” Dart Cherokee Basin Operating Co., LLC v. Owens, 135 S. Ct. 547, 554 (2014).

         13.       Notice is being provided to Plaintiff of the filing of this Notice as required by

28 U.S.C. § 1446(d).

         14.       A copy of this Notice will be filed with the Clerk for the District Court for Santa

Fe County in the State Court Action as required under 28 U.S.C. § 1446(d).

         15.       Plaintiff demanded a jury of six in the State Court Complaint.          State Farm

demands a jury of twelve.

                                                              Respectfully submitted,

                                                              MILLER STRATVERT P.A.

                                                              By /s/ Todd A. Schwarz
                                                                 Todd A. Schwarz
                                                                 Jesika M. Ulibarri
                                                                 Attorneys for Defendant
                                                                 Post Office Box 25687
                                                                 Albuquerque, NM 87125
                                                                 Phone: (505) 842-1950
                                                                 Fax: (505) 243-4408


                                          CERTIFICATE OF SERVICE

        The undersigned hereby certifies that on the 17th day of August, 2017, a copy of the
foregoing was electronically filed through the CM/ECF system, which caused the following
participating CM/ECF counsel to be served with same by electronic means and via U.S. Mail to:

Merit Bennett
The Bennett Law Group LLC
460 Saint Michael’s Drive, Suite 703
Santa Fe, NM 87505


/s/ Todd A. Schwarz
Todd A. Schwarz


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